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10
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11
                           UNITED STATES DISTRICT COURT
12
                        SOUTHERN DISTRICT OF CALIFORNIA
13
14   FIREARMS POLICY COALITION,                      Case No.: '23CV0400 LL   AGS
     INC.; CALIFORNIA GUN RIGHTS
15   FOUNDATION; SAN DIEGO
     COUNTY GUN OWNERS PAC,                          COMPLAINT FOR
16                                                   DECLARATORY, INJUNCTIVE,
                        Plaintiffs,                  OR OTHER RELIEF
17
           v.
18
     CITY OF SAN DIEGO; COUNTY OF
19   IMPERIAL; COUNTY OF ALAMEDA;
     COUNTY OF VENTURA; COUNTY
20   OF LOS ANGELES; CITY OF SAN
     JOSE; and COUNTY OF SANTA
21   CLARA,
22                      Defendants.
23
24
25
26
27
28



                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1          Plaintiffs Firearms Policy Coalition, Inc.; California Gun Rights Foundation;
 2   and San Diego County Gun Owners PAC complain of Defendants and allege:
 3                                      INTRODUCTION
 4          1.     Plaintiffs bring this suit to challenge the constitutionality of California
 5   Code of Civil Procedure section 1021.11’s one-sided fee-shifting provisions and seek
 6   an injunction against the statute’s application or enforcement by several local
 7   jurisdictions.
 8          2.     Plaintiffs intend to seek declaratory and injunctive relief against the
 9   enforcement of firearm regulations in each of the Defendants’ jurisdictions. Before
10   doing so, however, Plaintiffs bring this lawsuit to remove the cloud hanging over those
11   claims by virtue of the operation of Section 1021.11.
12          3.     Section 1021.11 is an unconstitutional attempt by the State of California
13   to deter citizens and firearms advocacy groups—through a novel, one-way fee-shifting
14   penalty—from accessing the courts to litigate claims over firearms regulations.
15          4.     In Miller v. Bonta, this Court enjoined the State from enforcing Section
16   1021.11. No. 3:22-cv-1446-BEN-MDD, --- F.Supp.3d ----, 2022 WL 17811114 (S.D.
17   Cal. Dec. 19, 2022). Specifically, the Court held that Section 1021.11 violated the
18   First Amendment (id. at *2–4); the Supremacy Clause (id. at *4–7); and noted that it
19   likewise ran afoul of the Due Process and Equal Protection Clauses (see id. at *2–3).
20   “A state law that threatens its citizens for questioning the legitimacy of its firearms
21   regulations may be familiar to autocratic and tyrannical governments, but not
22   American government. American law counsels vigilance and suspiciousness of laws
23   that thwart judicial scrutiny.” Id. at *3. Because “the purpose and effect of § 1021.11
24   is to trench on a citizen’s right of access to the courts and to discourage the peaceful
25   vindication of an enumerated constitutional right,” the Court declared the statute
26   invalid. Id. at *4.
27          5.     Because the Defendant local jurisdictions were not defendants in Miller,
28   they are not directly bound by the injunction. Plaintiffs have requested that Defendants
                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1   stipulate to non-enforcement of the provisions of Section 1021.11 in light of Miller,
 2   but they have refused to do so. But Section 1021.11’s enforcement is unconstitutional,
 3   regardless of whether the State or these local-government Defendants seek to enforce
 4   it, so Plaintiffs now seek declaratory and injunctive relief a second time, to enjoin its
 5   application by the Defendants.
 6                              JURISDICTION AND VENUE
 7         6.     This Court has jurisdiction over all claims for relief pursuant to 28 U.S.C.
 8   §§ 1331, 1343, 2201, 2202 and 42 U.S.C. §§ 1983, 1988, as this action seeks to redress
 9   the deprivation under color of the laws, statutes, ordinances, regulations, customs, and
10   usages of the State of California, of the rights, privileges or immunities secured by the
11   United States Constitution.
12         7.     Venue is proper under 28 U.S.C. § 1391(b)(1).
13                                        THE PARTIES
14         8.     Plaintiff Firearms Policy Coalition, Inc. (“FPC”) is a non-profit
15   organization incorporated under the laws of Delaware with its principal place of
16   business in Clark County, Nevada. The purposes of FPC include defending and
17   promoting the People’s rights—especially the fundamental, individual Second
18   Amendment right to keep and bear arms—advancing individual liberty, and restoring
19   freedom. FPC serves its members and the public through legislative advocacy,
20   grassroots advocacy, litigation and legal efforts, research, education, outreach, and
21   other programs. FPC’s members reside both within and outside the State of California,
22   including in all cities and counties that are parties to this action. FPC represents its
23   members and supporters—who include gun owners, prospective gun owners, licensed
24   California firearm retailers, and others—and brings this action on behalf of itself and
25   its members. The risk of fee liability imposed by Section 1021.11 has caused FPC to
26   refrain from filing suits or litigating constitutional claims that it is otherwise prepared
27   to file and litigate, including litigation against Defendants as set forth below. FPC has
28   also expended and diverted resources because of the enactment of Section 1021.11.
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 1         9.     Plaintiff California Gun Rights Foundation (“CGF”) is a non-profit
 2   foundation incorporated under the laws of California with its principal place of
 3   business in Sacramento, California. CGF serves its members, supporters, and the
 4   public through educational, cultural, and judicial efforts to defend and advance Second
 5   Amendment and related rights. CGF has tens of thousands of members and supporters
 6   in California. CGF brings this action on behalf of itself and its members. The laws,
 7   policies, practices, and customs challenged in this case, and Defendants’ actions and
 8   failures alleged herein, have caused CGF to dedicate resources that would otherwise
 9   be available for other purposes to protect the rights and property of its members,
10   supporters, and the general public, including by and through this action. The risk of
11   fee liability imposed by Section 1021.11 has caused CGF to refrain from filing suits
12   or litigating constitutional claims that it is otherwise prepared to file and litigate,
13   including litigation against Defendants as set forth below.
14         10.    Plaintiff San Diego County Gun Owners PAC (“SDCGO”) is a political
15   organization whose purpose is to protect and advance the Second Amendment rights
16   of residents of San Diego County, California, through their efforts to support and elect
17   local and state representatives who support the Second Amendment right to keep and
18   bear arms. SDCGO’s membership and donors consist of Second Amendment
19   supporters, people who own guns for self-defense and sport, firearms dealers, shooting
20   ranges, and elected officials who want to restore and protect the right to keep and bear
21   arms in California. The interests that SDCGO seeks to protect in this lawsuit are
22   germane to the organization’s purposes, and, therefore, SDCGO sues on its own
23   behalf, and on behalf of its members. The risk of fee liability imposed by Section
24   1021.11 has caused SDCGO to refrain from filing suits or litigating constitutional
25   claims against Defendant City of San Diego and County of Imperial that it is otherwise
26   prepared to file and litigate, including litigation against Defendants as set forth below.
27         11.    Defendant City of San Diego is a charter city organized and existing
28   under the laws of the State of California and located in the County of San Diego.
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 1         12.    Defendant County of Imperial is a general law county organized and
 2   existing as a legal subdivision under the laws of the State of California
 3         13.    Defendant County of Alameda is a charter county organized and existing
 4   as a legal subdivision under the laws of the State of California.
 5         14.    Defendant County of Ventura is a general law county organized and
 6   existing as a legal subdivision under the laws of the State of California.
 7         15.    Defendant County of Los Angeles is a charter county organized and
 8   existing as a legal subdivision under the laws of the State of California.
 9         16.    Defendant City of San Jose is a charter city organized and existing under
10   the laws of the State of California and located in the County of Santa Clara.
11         17.    Defendant County of Santa Clara is a charter county organized and
12   existing as a legal subdivision under the laws of the State of California.
13                           GENERAL ALLEGATIONS
14   I.    Section 1021.11 Creates A State-Law Fee-Shifting Regime, Applicable
           Only To Firearms Litigation, Designed To Suppress Such Cases And
15         Insulate Firearms Regulations From Judicial Review.
16         18.    Senate Bill 1327, enacted as Code of Civil Procedure §1021.11, is based
17   largely word-for-word on Texas’s SB 8, enacted in 2021 in the abortion context. This
18   case challenges Section 1021.11’s radical effort to suppress firearms-related litigation
19   by putting civil rights litigants and their attorneys on the hook for the government’s
20   attorney’s fees if a case results in anything short of victory on every claim alleged in
21   a complaint.1
22         19.    Section 1021.1l provides, in relevant part:
23         Notwithstanding any other law, any person, including an entity,
           attorney, or law firm, who seeks declaratory or injunctive relief to
24         prevent this state, a political subdivision, a governmental entity or
           public official in this state, or a person in this state from enforcing any
25         statute, ordinance, rule, regulation, or any other type of law that
26   1
            Senate Bill 1327 also created a private right of action to enforce state laws
27   relating to the unlawful manufacture, distribution, or sale of specified firearms. 2022
     Cal. Stat. ch. 146, § 1 (adding Bus. & Prof. Code §§ 22949.60–.71). This case does
28   not challenge SB 1327’s private attorney general features.
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           regulates or restricts firearms, or that represents any litigant seeking
 1         that relief, is jointly and severally liable to pay the attorney’s fees and
           costs of the prevailing party.
 2
 3   Cal. Code Civ. Proc. § 1021.11(a).
 4         20.    Due to the unique political circumstances in which it was enacted—
 5   namely, targeting firearms litigation as a form of protest over Texas’s targeting of
 6   abortion litigation in SB 8—Section 1021.11’s unconstitutionality has never been in
 7   question. Attorney General Rob Bonta has described SB 8 as “blatantly
 8   unconstitutional.” Press Release, Cal. Dep’t of Just., Att’y Gen. Bonta: Texas Cannot
 9   Avoid Judicial Review of Its Constitutional Abortion Ban (Oct. 27, 2021),
10   https://bit.ly/3pRWA4F. Despite signing SB 1327 into law, Gov. Newsom had
11   likewise blasted the Supreme Court’s refusal to block the Texas law on which it was
12   based as “outrageous” and “an abomination.” Gavin Newsom, Opinion, The Supreme
13   Court Opened the Door to Legal Vigilantism in Texas. California Will Use the Same
14   Tool To Save Lives., WASH. POST (Dec. 20, 2021), https://wapo.st/3wxWoeI. And SB
15   1327’s legislative history includes similar acknowledgements. See S.B. 1327, S. Floor
16   Analysis, p. 6 (June 28, 2022) (“While the goal of repurposing the Texas law may be
17   sound, these problematic provisions may not justify those ends. They insulate
18   government action from meaningful challenge by creating a strong, punitive deterrent
19   for any that try and in the end, may violate due process guarantees.”); S.B. 1327, A.
20   Jud. Comm. Analysis, p. 13 (June 10, 2022) (describing SB 1327’s fee-shifitng as “a
21   lose-lose scenario for plaintiffs who challenge the bill or a gun law; and a win-win
22   scenario for the government”).
23         21.    Unlike any other ordinary “fee shifting” statute, SB 1327 says a
24   “prevailing party” cannot be a plaintiff who brings a case seeking declaratory or
25   injunctive relief regarding a state or local firearm regulation. Code Civ. Proc. §
26   1021.11(e). And it says government defendants in a firearms case will be treated as a
27   “prevailing party” if the court either “[d]ismisses any claim or cause of action” in the
28   case, “regardless of the reason for the dismissal,” or “[e]nters judgment in favor of the
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 1   [government] party” “on any claim or cause of action.” Code Civ. Proc. § 1021.11(b)
 2   (emphasis added). In simple terms, then, SB 1327 would enable government
 3   defendants to recover fees if a firearms plaintiff loses on any claim in the case, while
 4   the plaintiff can only avoid liability for fees if it prevails on every claim in the case.
 5   This means, among other things, that a plaintiff could be liable for the government’s
 6   fees even if the plaintiff obtained all of the relief sought in the litigation.
 7          22.    Section 1021.11(c) further gives these “prevailing party” government
 8   defendants a three-year window to bring a state law action to recover their fees,
 9   notwithstanding that the vast majority of firearms litigation, like this case, is brought
10   under 42 U.S.C. § 1983, and that federal law already provides for the treatment of
11   attorney’s fees in those cases: 42 U.S.C. § 1988(b) provides that “prevailing part[ies]”
12   in federal civil rights actions may recover “a reasonable attorney’s fee as part of [their]
13   costs” in the action itself.
14   II.    Section 1021.11’s Fee-Shifting Regime Is Unconstitutional And Should Be
            Enjoined As To Defendants For The Same Reasons It Was Enjoined As To
15          The State In Miller.
16          23.    The State is now enjoined from enforcing Section 1021.11 under Miller
17   v. Bonta. 2022 WL 17811114 (S.D. Cal. Dec. 19, 2022).2 The Court in Miller found
18   that Section 1021.11 violated the First Amendment and is pre-empted under the
19   Supremacy Clause by 42 U.S.C. § 1988. For the same reasons, Section 1021.11 should
20   be enjoined here.
21
            A.     Section 1021.11’s        Fee-Shifting       Regime          Violates   the   First
22                 Amendment.
23          24.    Section 1021.11 encourages state and local governments to push the
24   constitutional envelope when crafting firearms regulations by threatening would-be
25   plaintiffs considering suing over those regulations with a potentially ruinous fee
26
     2
27        The Court issued a substantively identical ruling in a related case. South Bay
     Rod & Gun Club, Inc. v. Bonta, S.D. Cal. Case No. 3:22-cv-1461-BEN-JLB, 2022
28   WL 17811113 (S.D. Cal. Dec. 19, 2022).
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 1   award. As the court in Miller observed, “[t]he principal defect of § 1021.11 is that it
 2   threatens to financially punish plaintiffs and their attorneys who seek judicial review
 3   of laws impinging on federal constitutional rights.” 2022 WL 17811114 at *2. “Laws
 4   like § 1021.11 that exact an unaffordable price to be heard in a court of law are
 5   intolerable.” Id. at *3. The threat posed by Section 1021.11 extends beyond imposing
 6   financial ruin on would-be plaintiffs by imposing the same threat of fee liability on
 7   attorneys and law firms. The Miller court recognized this “does a disservice to the
 8   courts” through suppressing “novel,” “substantial” claims, thereby “threaten[ing]
 9   severe impairment of the judicial function” by “insulat[ing] the Government’s laws
10   from judicial inquiry.” Id. at *4 (citations omitted).
11         25.    Section 1021.11 thus improperly threatens the right of access to the
12   courts. The right to petition the government for redress of grievances includes “[t]he
13   right of access to the courts,” which “is indeed but one aspect of the right of petition.”
14   Cal. Motor Trans. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972). The Miller
15   court noted that Section 1021.11 struck at the core of this right. “In our ordered system
16   of civil justice, the Second Amendment right, and for that matter all constitutional
17   rights, are ultimately protected by the First Amendment right to identify
18   unconstitutional infringements and seek relief from the courts.” 2022 WL 17811114
19   at *2. And the court further emphasized “that maintaining the courts as a setting to
20   resolve questions about defective laws is necessary for a peaceful society.” Id.
21         26.    This isn’t the first time a state has erected and enforced regulatory
22   barriers to avoid civil rights litigation. The Supreme Court rejected Virginia’s attempt
23   to keep the NAACP out of court in Nat’l Ass’n for Advancement of Colored People v.
24   Button, 371 U.S. 415 (1963) (concerning the state’s ban against the “improper
25   solicitation” of legal business), and struck down South Carolina’s efforts to punish the
26   ACLU’s counsel in In re Primus, 436 U.S. 412 (1978) (concerning the state’s
27   prohibition against solicitation of prospective litigants).
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 1         27.    The Supreme Court has recognized the central role the First Amendment
 2   plays in securing access to the courts to preserve civil rights, particularly for groups
 3   unable protect their rights through the political channels. “Groups which find
 4   themselves unable to achieve their objectives through the ballot frequently turn to the
 5   courts. . . . [U]nder the conditions of modern government, litigation may well be the
 6   sole practicable avenue open to a minority to petition for redress of grievances.”
 7   Button, 371 U.S. at 429–30. Such is the case here, where Plaintiffs seek to assert their
 8   constitutional rights in litigation against local governments that disfavor Second
 9   Amendment rights.
10         28.    Since Button, the Supreme Court has consistently enjoined state action
11   that imposes barriers on litigation that may chill protected activity. See, e.g., Bhd. of
12   R. R. Trainmen v. Virginia ex rel. Va. State Bar, 377 U.S. 1, 7 (1964) (a state cannot
13   “handicap[]” “[t]he right to petition the courts” through indirect regulation that
14   “infringe[s] in any way the right of individuals and the public to be fairly represented
15   in lawsuits authorized by Congress to effectuate a basic public interest”); United Mine
16   Workers of Am., Dist. 12 v. Illinois State Bar Ass’n, 389 U.S. 217, 222–23 (1967) (the
17   state cannot “erode [the First Amendment’s] guarantees by indirect restraints” on
18   citizens’ ability to assert their legal rights); United Transp. Union v. State Bar of
19   Mich., 401 U.S. 576, 580–81, 585–86 (1971) (“the First Amendment forbids . . .
20   restraints” that effectively prevent groups from “unit[ing] to assert their legal rights,”
21   and striking down economic regulation that denied union members “meaningful
22   access to the courts”).
23         29.    Section 1021.11’s obvious and impermissible purpose is to give state and
24   local governments in California a free hand to regulate firearms by suppressing
25   litigation over firearm regulations. Because “[t]he Constitution does not permit” the
26   government to “insulate [its] interpretation of the Constitution from judicial
27   challenge,” courts “must be vigilant when [the government] imposes rules and
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 1   conditions which in effect insulate its own laws from legitimate judicial challenge.”
 2   Legal Services Corp. v. Velazquez, 531 U.S. 533, 548–49 (2001).
 3         30.    Section 1021.11’s fee-shifting regime further violates the First
 4   Amendment because it is content-based and viewpoint-discriminatory: It imposes a
 5   unique burden on those who seek to vindicate their civil rights through firearms
 6   litigation while favoring all other sorts of constitutional and statutory civil rights
 7   claims. Civil-rights litigation involves core protected speech. See Button, 436 U.S. at
 8   431 (civil rights litigation “form of political expression”); Primus, 436 U.S. at 429;
 9   Velazquez, 531 U.S. at 545. Yet Section 1021.11 singles out speech over firearms
10   restrictions for special unfavorable treatment. Laws that impose special burdens on
11   disfavored speech and single out disfavored speakers are constitutionally suspect.
12   Sorrell v. IMS Health Inc., 564 U.S. 552, 564–66 (2011). States are not permitted to
13   advance their policy goals “through the indirect means of restraining certain speech
14   by certain speakers,” id. at 577, and “may not burden the speech of others in order to
15   tilt public debate in a preferred direction.” Id. at 578–79. Indeed, “the First
16   Amendment is plainly offended” when the government “attempt[s] to give one side of
17   a debatable public question an advantage in expressing its views to the people.” First
18   Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 785–86 (1978).
19         31.    There is also no legitimate historical precedent for a fee-shifting statute
20   that only allows government defendants to recover fees in civil rights litigation.
21   Section 1021.11 thus falls outside of the history and tradition of the First Amendment
22   that is the touchstone of First Amendment analysis. See, e.g., United States v. Stevens,
23   559 U.S. 460, 468–71 (2010) (placing the burden on the government to show that a
24   type of speech belongs to one of the “historic and traditional categories” of
25   constitutionally unprotected speech); accord Kennedy v. Bremerton Sch. Dist., 142
26   S.Ct. 2407, 2428 (2022) (Establishment Clause analysis must be anchored to
27   “historical practices and understandings”); New York State Rifle & Pistol Ass’n, Inc.
28   v. Bruen, 142 S.Ct. 2111, 2130 (2022) (“[T]o carry [its] burden, the government must
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 1   generally point to historical evidence about the reach of the First Amendment’s
 2   protections.”) (emphasis in original). The lack of historical precedent further
 3   demonstrates that SB 1327 violates the First Amendment.
 4         32.    But even under First Amendment balancing tests, Section 1021.11 cannot
 5   withstand the appropriate strict scrutiny. For example, it is impossible to imagine any
 6   interest the Defendants could assert as compelling, or even permissible, in support of
 7   this statute. Indeed, Defendants cannot possibly sustain their burden of identifying a
 8   compelling interest, as there is no compelling interest for targeting a particular type of
 9   civil rights litigant for unfavorable treatment when exercising the fundamental right
10   to assert constitutional claims. Moreover, Section 1021.11 is not narrowly tailored:
11   the State failed even to consider less restrictive alternatives that would serve such an
12   interest without imposing such severe burdens on core protected rights. United States
13   v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813 (2000).
14         33.    In short, Section 1021.11’s fee-shifting penalty violates the First
15   Amendment to the Constitution.
16
           B.     Section 1021.11’s Fee-Shifting Regime is Preempted by 42 U.S.C. §
17                1988.
18         34.    The Supremacy Clause provides that federal law “shall be the supreme
19   Law of the Land.” U.S. Const. Art. VI, Cl. 2. “Consistent with that command, [the
20   Supreme Court has] long recognized that state laws that conflict with federal law are
21   ‘without effect.’” Altria Grp., Inc. v. Good, 555 U.S. 70, 76 (2008). To that end, “state
22   law is naturally preempted to the extent of any conflict with a federal statute,” Crosby
23   v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000), and “[w]here state and
24   federal law ‘directly conflict,’ state law must give way.” PLIVA, Inc. v. Mensing, 564
25   U.S. 604, 617 (2011) (citation omitted); see also Gade v. National Solid Wastes Mgmt.
26   Ass’n, 505 U.S. 88, 108 (1992) (“[U]nder the Supremacy Clause . . . any state law,
27   however clearly within a State’s acknowledged power, which interferes with or is
28   contrary to federal law, must yield.”) (internal quotation marks and citation omitted).
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 1         35.    Section 1021.11’s attempt to shift the government’s fees onto the
 2   shoulders of civil rights plaintiffs conflicts with the text and structure of Section 1988,
 3   and it strongly undermines Section 1988’s purposes. Section 1988 provides that, in
 4   most categories of federal civil rights litigation, the court “may allow the prevailing
 5   party, other than the United States, a reasonable attorney’s fee as part of the costs” of
 6   the case. 42 U.S.C. § 1988(b). “[A] prevailing plaintiff ‘should ordinarily recover an
 7   attorney’s fee unless special circumstances would render such an award unjust.’”
 8   Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (emphasis added). By contrast, the
 9   Supreme Court has repeatedly held that, given the purposes of Section 1988,
10   prevailing defendants may recover fees only “where the suit was vexatious, frivolous,
11   or brought to harass or embarrass the defendant.” Id. at 429 n.2; see Christiansburg
12   Garment Co. v. EEOC, 434 U.S. 412, 422 (1978) (under analogous fee award
13   language in Title VII, establishing standard that “a plaintiff should not be assessed his
14   opponent’s attorney’s fees unless a court finds that his claim was frivolous,
15   unreasonable, or groundless”).
16         36.    Section 1021.11 directly conflicts with Section 1988 by establishing a
17   wholly separate state law fee regime. As the Miller court observed, “[t]hrough its
18   unfair legal stratagems, the state law chills the First Amendment right to petition
19   government for the redress of grievances, which, in turn, chills the Second
20   Amendment right. The chill is deepened by the extraordinary provision that declares
21   a plaintiff shall not be a prevailing party. In the end, this state statute undercuts and
22   attempts to nullify 42 U.S.C. § 1988.” 2022 WL 17811114 at *4. Not only does
23   “California’s fee shifting provision turns [the federal] approach upside down,”
24   “California attorney’s fee-shifting construct goes beyond § 1988 by discouraging
25   attorneys from representing civil rights plaintiffs.” Id. at *6. And because Section
26   1021.11 “will have the effect of thwarting federal court orders enforcing Second
27   Amendment rights through § 1988 attorney’s fee awards, then” the statute “cannot
28   survive.” Id. at *7.
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 1         37.    Section 1988 doesn’t require a plaintiff to win every claim in order to be
 2   a “prevailing party.” Relying on congressional guidance, the Supreme Court has
 3   “made clear that plaintiffs may receive fees under [Section] 1988 even if they are not
 4   victorious on every claim. A civil rights plaintiff who obtains meaningful relief has
 5   corrected a violation of federal law and, in so doing, has vindicated Congress’s
 6   statutory purposes.” Fox v. Vice, 563 U.S. 826, 834 (2011); see Texas State Teachers
 7   Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 793 (1989) (Section 1988 fees are
 8   appropriate if a party has “prevailed on a significant issue in the litigation and have
 9   obtained some of the relief they sought”).
10         38.    Section 1021.11(e), however, says that only government defendants can
11   be “prevailing parties.” And because it also says a government defendant is a
12   “prevailing party” if the plaintiff loses on any of its claims, the government would be
13   entitled to fees even where it has been found to violate the Constitution on other claims
14   in the case. In other words, Section 1021.11 flips Section 1988, putting government
15   defendants in a similar if not better position than plaintiffs under Section 1988.
16         39.    Indeed, Section 1021.11 asserts reverse supremacy over federal law. The
17   statute remarkably asserts that Section 1021.11 applies regardless of what any federal
18   court does in an underlying Section 1983 case: Section 1021.11 pronounces that
19   government officials may plow ahead with enforcing the fee-shifting penalty against
20   a Section 1983 plaintiff with a state court collection action even when “[t]he court in
21   the underlying action held that any provision of this section is invalid,
22   unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue
23   or claim preclusion.” Code Civ. Proc. § 1021.11(d)(3) (emphasis added).
24         40.    Section 1021.11 also undermines the manifest purpose of Section 1988.
25   Shortly after the Civil Rights Act’s passage, the Supreme Court recognized the link
26   between fee-shifting and effective enforcement of civil rights laws. “When the Civil
27   Rights Act of 1964 was passed, it was evident that enforcement would prove difficult
28   and that the Nation would have to rely in part upon private litigation as a means of
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                 -12-
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 1   securing broad compliance with the law. . . . If successful plaintiffs were routinely
 2   forced to bear their own attorneys’ fees, few aggrieved parties would be in a position
 3   to advance the public interest by invoking the injunctive powers of the federal courts.
 4   Congress therefore enacted the provision for counsel fees . . . to encourage individuals
 5   injured by racial discrimination to seek judicial relief . . . .” Newman v. Piggie Park
 6   Enters., Inc., 390 U.S. 400, 401–02 (1968).
 7         41.    In short, “[t]he purpose of [Section] 1988 is to ensure ‘effective access
 8   to the judicial process’ for persons with civil rights grievances.” Hensley, 461 U.S.
 9   424, 429 (1983) (quoting H.R. Rep. No. 94–1558 at 1 (1976)); see also S. Rep. No.
10   94-1011 at 2 (June 29, 1976) (explaining that the federal “civil rights laws depend
11   heavily upon private enforcement, and fee awards have proved an essential remedy if
12   private citizens are to have a meaningful opportunity to vindicate the important
13   Congressional policies” embodied in those laws).
14         42.    In direct conflict with Section 1988’s purpose, Section 1021.11 threatens
15   to bankrupt any plaintiff considering a challenge to a state or local firearm regulation
16   if the plaintiff does not achieve complete victory in the litigation. This is a heavy-
17   handed deterrent to asserting civil rights claims, whereas Section 1988 expresses
18   Congressional intent to encourage civil rights litigation.
19         43.    Because Section 1021.11 “stands as an obstacle to the accomplishment
20   and execution of the full purposes and objective of Congress,” California’s law “must
21   give way.” PLIVA, Inc., 564 U.S. 634, 617. Section 1021.11’s fee-shifting penalty is
22   preempted and its application is unconstitutional under the Supremacy Clause.
23
           C.     Section 1021.11’s Fee-Shifting Regime Violates The Equal
24                Protection And Due Process Clauses.
25         44.    For the many reasons described above with respect to discrimination
26   against federal constitutional rights, discrimination against gun rights plaintiffs in
27   particular, and discrimination related to viewpoint, Section 1021.11 also violates the
28   Equal Protection Clause. Indeed, while such discrimination against those who seek to
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                 -13-
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 1   exercise First and Second Amendment rights would be subject to, and plainly fail,
 2   strict scrutiny, as explained above the classifications at issue here could not even
 3   survive rational basis scrutiny.
 4          45.   As Judge Benitez explained in Miller, “[l]aws like § 1021.11 that exact
 5   an unaffordable price to be heard in a court of law are intolerable.” 2022 WL
 6   17811114 at *3. Section 1021.11 strikes at the core of the due process guarantee,
 7   which “requires that a citizen be able to be heard in court.” Id. at *2. And it likewise
 8   implicates equal protection: “Where money determines not merely ‘the kind of trial a
 9   man gets,’ but whether he gets into court at all, the great principle of equal protection
10   becomes a mockery.” Id. at *3 (citation omitted).
11
     III.   Section 1021.11 Has Unconstitutionally Infringed Plaintiffs’ Ability To
12          Access The Courts To Sue Defendants.
13          46.   As detailed in Miller, Section 1021.11 unconstitutionally chilled
14   Plaintiffs’ ability to bring and continue to prosecute civil rights cases challenging
15   California firearm regulations. After the Miller ruling, Plaintiffs FPC and CGF asked
16   Defendants to stipulate that they would not enforce Section 10211.11, either in a
17   current case or a case that Plaintiffs intend to file. Each Defendant refused. This
18   resistance is indefensible in light of the Miller ruling enjoining the law as to the State
19   of California. Indeed, the Attorney General’s office refused to defend the law’s
20   constitutionality in Miller. 2022 WL 17811114 at *1.3
21          47.   On December 30, 2022, counsel for the plaintiffs (which include FPC
22   and SDCGO) in Fahr v. City of San Diego, S.D. Cal. Case No. 3:21-cv-01676-BAS-
23   BGS, sent a letter to the San Diego City Attorney asking that it stipulate not to enforce
24   Section 1021.11 against the plaintiffs or their attorneys and law firms based on the
25   outcome of the case. A true and correct copy of the letter is attached as Exhibit 1. On
26
     3
27        After Attorney General Bonta declined to defend Section 1021.11, Governor
     Newsom intervened to litigate its constitutionality on the merits. Miller, 2022 WL
28   17811114 at *1.
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                 -14-
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 1   January 11, 2023, the City Attorney’s office responded that “the City is not in a
 2   position to stipulate as requested,” and that it did “not believe” that the Court decision
 3   in Miller “warrants an unequivocal waiver from the City.”
 4         48.    On January 20, counsel for FPC and CGF sent a letter to the Office of
 5   the County Counsel for the County of Imperial asking that it stipulate not to enforce
 6   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
 7   case they intend to file challenging the constitutionality of a county ordinance
 8   prohibiting the possession of firearms in any recreational park within the county’s
 9   jurisdiction. A true and correct copy of the letter is attached as Exhibit 2. Imperial
10   County has not responded to the letter.
11         49.    On December 30, 2022, counsel for FPC and CGF sent a letter to the
12   Office of the County Counsel for the County of Alameda asking that it stipulate not
13   to enforce Section 1021.11 against the intended plaintiffs or their attorneys and law
14   firms in a case they intend to file challenging the constitutionality of the Alameda
15   County Sherriff’s Office’s application and enforcement of the County’s licensing
16   regime for carrying concealed firearms. A true and correct copy of the letter is attached
17   as Exhibit 3. On January 3, 2023, County Counsel responded by letter that it would
18   not agree to non-enforcement. A true and correct copy of the County’s response is
19   attached as Exhibit 4.
20         50.    The Alamada County Counsel vaguely accused Plaintiffs’ counsel of
21   ethical breaches and “encouraged” counsel to “be mindful of your duties obligations
22   [sic] before you make averments in any pleading regarding the intentions of the Sheriff
23   and the County” regarding Section 1021.11, because claims against them purportedly
24   “do not exist and would not be ripe despite your attempts to manufacture a claim.”
25   Ex. 4, p.2. But as explained below, Plaintiffs’ claims do, in fact, exist (and are ripe):
26   Plaintiffs are prepared to file a lawsuit but have deferred doing so because of the threat
27   of fee-shifting. Indeed, the tone of Alameda County Counsel’s letter confirms why
28   injunctive relief is necessary in this case: If a request not to enforce a statute that has
                              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                   -15-
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 1   already been held unconstitutional is met with such vitriol, litigation over the County’s
 2   unconstitutional conduct will surely be contentious, drawn-out, and expensive.
 3         51.    On January 20, counsel for FPC and CGF sent a letter to the Office of
 4   the County Counsel for the County of Ventura asking that it stipulate not to enforce
 5   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
 6   case they intend to file challenging the constitutionality of the Ventura County
 7   Sherriff’s Office’s application and enforcement of the County’s licensing regime for
 8   carrying concealed firearms. A true and correct copy of the letter is attached as Exhibit
 9   5. Ventura County has not responded to the letter.
10         52.    On January 20, counsel for FPC and CGF sent a letter to the Office of
11   the County Counsel for the County of Los Angeles asking that it stipulate not to
12   enforce Section 1021.11 against the intended plaintiffs or their attorneys and law firms
13   in a case they intend to file challenging the constitutionality of (1) the Los Angeles
14   County Sherriff’s Office’s application and enforcement of the County’s licensing
15   regime for carrying concealed firearms; and (2) a provision of the county code
16   prohibiting the possession of firearms in any public park within the county’s
17   jurisdiction. A true and correct copy of the letter is attached as Exhibit 6. On January
18   27, 2023, County Counsel responded by letter that it would not agree to non-
19   enforcement, but that it “would be willing to discuss entereing into a case-specific
20   situation.” A true and correct copy of the County’s response is attached as Exhibit 7.
21         53.    On January 27, counsel for FPC and CGF sent a letter to counsel for the
22   City of San Jose asking that the city stipulate not to enforce Section 1021.11 against
23   the intended plaintiffs or their attorneys and law firms in a case they intend to re-file
24   challenging the constitutionality of city ordinances requiring firearm owners to pay an
25   annual fee to a City-designated non-profit organization and obtain firearm-related
26   insurance. A true and correct copy of the letter is attached as Exhibit 8. FPC had
27   previously sued to invalidate those same regulations, but dismissed the lawsuit in
28   August 2022 because of the threat posed by Section 1021.11. Glass v. City of San
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                 -16-
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 1   Jose, N.D. Cal. Case No 5:22-cv-02533-BL. FPC is prepared to re-file this challenge
 2   against San Jose once San Jose is enjoined from attempting to enforce Section
 3   1021.11.
 4         54.    On February 2, counsel for San Jose responded by letter that it would not
 5   agree to non-enforcement, claiming that it was “inappropriate to respond” outside of
 6   the context of an actual lawsuit—counsel “decline[d] to comment on what positions
 7   the City might take, or what remedies it might seek, in hypothetical future litigation
 8   against the City.” A true and correct copy of the response is attached as Exhibit 9.
 9   Counsel for San Jose claimed it was “impossible to know what specific City laws [the
10   Plaintiffs] intend to file a lawsuit over,” id., despite being advised that Plaintiffs “are
11   now prepared to re-file litigation seeking declaratory and injunctive relief as to at least
12   the[] same regulations” at issue in the Glass litigation. Ex. 8. And counsel for San Jose
13   accused Plaintiffs of sending the letter to gain “some advantage in [their] ongoing
14   lawsuit” in the Miller case, despite the fact that the Miller court had already entered a
15   permanent injunction 45 days earlier.
16         55.    On February 24, counsel for FPC and CGF sent a letter to the Office of
17   the County Counsel for the County of Santa Clara asking that it stipulate not to enforce
18   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
19   case they intend to file challenging the constitutionality of the Santa Clara County
20   Sherriff’s Office’s application and enforcement of the County’s licensing regime for
21   carrying concealed firearms. A true and correct copy of the letter is attached as Exhibit
22   10. Santa Clara County has not responded to the letter
23         56.    Defendants’ refusal to stipulate to non-enforcement of Section 1021.11
24   has infringed Plaintiffs’ constitutional rights.
25         57.    As set forth above, in each of the Defendant local jurisdictions, Plaintiffs
26   FPC and CGF have refrained from filing constitutional challenges against laws,
27   regulations, and practices that are inconsistent with the Supreme Court’s decision in
28   New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022). FPC and CGF
                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                  -17-
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 1   have incurred fees to investigate, research, and prepare these lawsuits, which have
 2   been put on hold because of Section 1021.11’s threat of fee shifting. But Section’s
 3   1021.11’s impact extends beyond these organizational Plaintiffs and counsel to the
 4   would-be individuals in these cases who are suffering an ongoing deprivation of their
 5   Second Amendment rights because of the Defendants’ actions. Plaintiffs are unable
 6   to seek to vindicate those rights without the certainty, which Defendants’ counsel have
 7   not provided, that they would not face potentially ruinous fee liability for bringing the
 8   suits they intend to bring.
 9          58.    In San Diego, Plaintiffs FPC and SDCGO are plaintiffs in Fahr, where
10   they are forced to continue litigating under the threat of Section 1021.11 fee liability.
11   The uncertainty about potential enforcement has created a chilling effect on the Fahr
12   Plaintiffs’ (and their counsel’s) ability to proceed with the case.
13          59.    But for Section 1021.11’s fee-shifting provisions, Plaintiffs would
14   forthwith engage in litigation they have refrained from bringing against Defendants
15   due to the law’s threat of ruinous fee liability.
16                                   FIRST CLAIM FOR RELIEF
17                VIOLATION OF FIRST AMENDMENT (42 U.S.C. § 1983)
18          60.    Plaintiffs incorporate here by reference paragraphs 1 through 59, supra,
19   as if fully set forth herein.
20          61.    The First Amendment provides in relevant part that “Congress shall
21   make no law . . . abridging the freedom of speech . . . or the right of the people . . . to
22   petition the government for a redress of grievances.” U.S. CONST. amend. I. The First
23   Amendment is applicable against the States. See Gitlow v. New York, 268 U.S. 652,
24   666 (1925).
25          62.    For the reasons set forth above in Part II.A, Section 1021.11’s fee-
26   shifting penalty violates the First Amendment to the Constitution.
27
28
                              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                   -18-
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 1                              SECOND CLAIM FOR RELIEF
 2                VIOLATION OF SUPREMACY CLAUSE (42 U.S.C. § 1983)
 3          63.     Plaintiffs incorporate here by reference paragraphs 1 through 59, supra,
 4   as if fully set forth herein.
 5          64.     The Supremacy Clause provides in relevant part that “[t]his Constitution,
 6   and the laws of the United States which shall be made in pursuance thereof . . . shall
 7   be the supreme law of the land . . . any thing in the constitution or laws of any State
 8   to the contrary notwithstanding.” U.S. CONST. art. VI, § 2.
 9          65.     Section 1988(b) provides in relevant part that, “[i]n any action or
10   proceeding to enforce a provision of [42 U.S.C. § 1983], the court, in its discretion,
11   may allow the prevailing party, other than the United States, a reasonable attorney’s
12   fee as part of the costs.” 42 U.S.C. § 1988(b).
13          66.     For the reasons set forth above in Part II.B, Section 1021.11’s fee-
14   shifting penalty is preempted by Section 1988(b) and its application is unconstitutional
15   under the Supremacy Clause.
16                               THIRD CLAIM FOR RELIEF
17                VIOLATION OF EQUAL PROTECTION (42 U.S.C. § 1983)
18          65.     Plaintiffs incorporate here by reference paragraphs 1 through 59, supra,
19   as if fully set forth herein.
20          66.     The Equal Protection Clause of the Fourteenth Amendment provides that
21   “[n]o State shall . . . deny to any person within its jurisdiction the equal protection of
22   the laws.” U.S. CONST. amend. XIV, § 1.
23          67.     For the reasons set forth above in Part II.C, Section 1021.11’s fee-
24   shifting penalty violates the Equal Protection Clause of the Fourteenth Amendment to
25   the Constitution.
26
27
28
                              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                   -19-
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 1                              FOURTH CLAIM FOR RELIEF
 2                   VIOLATION OF DUE PROCESS (42 U.S.C. § 1983)
 3          68.    Plaintiffs incorporate here by reference paragraphs 1 through 59, supra,
 4   as if fully set forth herein.
 5          69.    The Due Process Clause of the Fourteenth Amendment provides that
 6   provides that no state shall “deprive any person of life, liberty, or property, without
 7   due process of law.” U.S. CONST. amend. XIV, § 1.
 8          70.    For the reasons set forth above in Part II.C, Section 1021.11’s fee-
 9   shifting penalty violates the Due Process Clause of the Fourteenth Amendment to the
10   Constitution.
11                                    PRAYER FOR RELIEF
12          Wherefore, Plaintiffs pray for judgment as follows:
13          1.     Plaintiffs respectfully request that this Court enter a declaratory judgment
14   stating that SB 1327’s fee-shifting penalty set forth in California Code of Civil
15   Procedure section 1021.11 violates the First Amendment to the Constitution.
16          2.     Plaintiffs respectfully request that this Court enter a declaratory judgment
17   stating that SB 1327’s fee-shifting penalty set forth in California Code of Civil
18   Procedure section 1021.11 is preempted and its application is unconstitutional under
19   the Supremacy Clause of the Constitution.
20          3.     Plaintiffs respectfully request that this Court enter a declaratory judgment
21   stating that SB 1327’s fee-shifting penalty set forth in California Code of Civil
22   Procedure section 1021.11 violates the Equal Protection Clause of the Fourteenth
23   Amendment to the Constitution.
24          4.     Plaintiffs respectfully request that this Court enter a declaratory judgment
25   stating that SB 1327’s fee-shifting penalty set forth in California Code of Civil
26   Procedure section 1021.11 violates the Due Process Clause of the Fourteenth
27   Amendment to the Constitution.
28
                              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                   -20-
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 1         5.     Plaintiffs respectfully request that this Court enter a preliminary and
 2   permanent injunction enjoining enforcement or application of SB 1327’s fee-shifting
 3   penalty set forth in California Code of Civil Procedure section 1021.11 against
 4   Plaintiffs, Plaintiffs’ members, and any attorney or law firm representing any Plaintiff
 5   in any litigation involving Defendants potentially subject to SB 1327’s fee-shifting
 6   penalty.
 7         6.     Plaintiffs respectfully request costs of suit, including reasonable
 8   attorneys’ fees under 42 U.S.C. § 1988 and any other applicable law, and all further
 9   relief to which Plaintiffs may be justly entitled.
10    Dated: March 2, 2023                      BENBROOK LAW GROUP, PC
11
                                                By s/ Bradley A. Benbrook
12                                                BRADLEY A. BENBROOK
13                                                Attorneys for Plaintiffs

14                                             COOPER & KIRK, PLLC
15
16                                             By s/ David H. Thompson
                                                 DAVID H. THOMPSON
17                                               Attorneys for Plaintiffs

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                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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                  EXHIBIT 1
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December 30, 2022

Via email to: mzollman@sandiego.gov

Matthew L. Zollman
Office of the San Diego City Attorney
City of San Diego, California
1200 Third Avenue Suite 1100
San Diego, CA 92101

Re:    URGENT – California Code of Civil Procedure Section 1021.11
       With respect to Fahr v. City of San Diego, California
       S.D. Cal. Case No. 3:21-cv-01676-BAS-BGS


Dear Counsel:

        I am writing to you on behalf of the plaintiffs, plaintiffs’ counsel, including me, and the
plaintiffs’ counsels’ respective firms in the above-referenced matter regarding California Code of
Civil Procedure (“CCP”) Section 1021.11 (“§ 1021.11”), which becomes effective on January 1,
2023.

       As you are likely aware, Governor Newsom signed Senate Bill No. 1327 (2021 – 2022
Reg. Sess.) (“SB 1327”) into law on July 22, 2022. Among its changes was the addition of §
1021.11, which provides:

                (a) Notwithstanding any other law, any person, including an entity,
                attorney, or law firm, who seeks declaratory or injunctive relief to
                prevent this state, a political subdivision, a governmental entity or
                public official in this state, or a person in this state from enforcing
                any statute, ordinance, rule, regulation, or any other type of law that
                regulates or restricts firearms, or that represents any litigant seeking
                that relief, is jointly and severally liable to pay the attorney’s fees
                and costs of the prevailing party.

                (b) For purposes of this section, a party is considered a prevailing
                party if a court does either of the following:

                        (1) Dismisses any claim or cause of action brought by the
                        party seeking the declaratory or injunctive relief described
                        by subdivision (a), regardless of the reason for the dismissal.

                        (2) Enters judgment in favor of the party opposing the
                        declaratory or injunctive relief described by subdivision (a),
                        on any claim or cause of action.
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               (c) Regardless of whether a prevailing party sought to recover
               attorney’s fees or costs in the underlying action, a prevailing party
               under this section may bring a civil action to recover attorney’s fees
               and costs against a person, including an entity, attorney, or law firm,
               that sought declaratory or injunctive relief described by subdivision
               (a) not later than the third anniversary of the date on which, as
               applicable:

                       (1) The dismissal or judgment described by subdivision (b)
                       becomes final upon the conclusion of appellate review.

                       (2) The time for seeking appellate review expires.

               (d) None of the following are a defense to an action brought under
               subdivision (c):

                       (1) A prevailing party under this section failed to seek
                       recovery of attorney’s fees or costs in the underlying action.

                       (2) The court in the underlying action declined to recognize
                       or enforce the requirements of this section.

                       (3) The court in the underlying action held that any provision
                       of this section is invalid, unconstitutional, or preempted by
                       federal law, notwithstanding the doctrines of issue or claim
                       preclusion.

               (e) Any person, including an entity, attorney, or law firm, who seeks
               declaratory or injunctive relief as described in subdivision (a), shall
               not be deemed a prevailing party under this section or any other
               provision of this chapter.

(SB 1327, Sec. 2.)

        As you may know, on December 19, 2022, the Honorable United States District Judge
Roger T. Benitez issued an Opinion And Order Enjoining Enforcement of California Code Of
Civil Procedure § 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order). In its Opinion and Order, the
Court ordered that:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
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               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

         Regardless of whether or not defendants read the Court’s Order as applying to them, or
read CCP § 1021.11as generally applying to parties in suits (and their counsel/firms) seeking
declaratory or injunctive relief (as provided in subdivision (a) of CCP § 1021.11) filed before
January 1, 2023, or any person, including an entity, attorney, or law firm that represents any
litigant seeking that relief in such a case, we request that defendants stipulate that they will not
seek to enforce CCP § 1021.11 based on the outcome of this case against plaintiffs’ counsel of
record (including myself), any other counsel who appears in this case at any time or in any court,
the various counsels’ respective firms, the plaintiffs (active or dismissed), and any other person
representing any litigant seeking declaratory or injunctive relief in this matter.

        Please inform me if any defendant in this case (or any of their officers, agents, servants,
employees, or others acting in concert or participation with them in enforcing or implementing
the laws at issue) intends to bring a civil action, motion, application, petition, or any other
proceeding to recover attorney’s fees and/or costs under CCP § 1021.11 against any person
(including an entity, attorney, or law firm representing a plaintiff in this case) seeking
declaratory or injunctive relief at any time.

       Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of CCP § 1021.11 on behalf of all defendants, such as a suggestion of a
“reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to be
confirmation that one or more defendants intend to seek remedies under CCP § 1021.11.

        If we do not receive from defendant or defendant’s counsel by no later than 5 p.m.
Pacific time on Tuesday, January 3, 2023, a written agreement to stipulate to unconditional
waiver and non-enforcement of CCP § 1021.11 in the manner stated above or an unequivocal
statement otherwise making clear that defendants (and any/all officers, agents, servants,
employees, or others acting in concert or participation with them in enforcing or implementing
the laws at issue) will not enforce CCP § 1021.11 against any person with respect to this case, we
will be forced to assume that defendants will not agree to a stipulation of waiver and non-
enforcement of CCP § 1021.11 and that defendants do intend to enforce CCP § 1021.11 against
one or more such persons with respect to this case.

       Thank you for your attention to this matter. We look forward to your timely response.

       Very truly yours,


                                                              /s/ Raymond M. DiGuiseppe
                                                              Raymond M. DiGuiseppe
                                                              The DiGuiseppe Law Firm, P.C.
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                  EXHIBIT 2
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                                BENBROOK LAW GROUP
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B RADLEY A. B ENBROOK                                                                    brad@benbrooklawgroup.com




                                                January 20, 2023


Via email
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Office of County Counsel
940 W. Main St., Suite 205
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countycounsel@co.imperial.ca.us

         Re:       California Code of Civil Procedure § 1021.11

Dear Counsel:

        I am writing to you on behalf of Firearms Policy Coalition, among other intended
plaintiffs, and their counsel in a case to be filed challenging various laws, policies, practices, and
customs of Imperial County regarding the regulation of firearms that individually and
collectively violate the Second and Fourteenth Amendment rights of the plaintiffs, plaintiffs’
members, and other similarly situated individuals in Imperial County. Among other things, the
Imperial County generally prohibits the possession of firearms in any recreational public park
within the county’s jurisdiction (Imperial County Code of Ordinances § 11.08.020), which
violates the Second Amendment. We intend to seek declaratory and injunctive relief as to the
enforcement of at least this law and policy.

         However, we write you in hopes that we can eliminate the need to also litigate and seek
relief regarding your enforcement of California Code of Civil Procedure Section 1021.11 (“§
1021.11”), in connection with the litigation. Governor Newsom signed Senate Bill No. 1327
(“SB 1327”) into law in July 2022. Among its changes was the addition of § 1021.11, which
became effective on January 1, 2023, and provides:

                   Notwithstanding any other law, any person, including an entity,
                   attorney, or law firm, who seeks declaratory or injunctive relief to
                   prevent this state, a political subdivision, a governmental entity or
                   public official in this state, or a person in this state from enforcing
                   any statute, ordinance, rule, regulation, or any other type of law
                   that regulates or restricts firearms, or that represents any litigant
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.29 Page 29 of 60
BENBROOK LAW GROUP,   PC



Eric R. Havens
January 20, 2023
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               seeking that relief, is jointly and severally liable to pay the
               attorney’s fees and costs of the prevailing party.

Cal. Code Civ. Proc. § 1021.11(a).

        Section 1021.11 goes on to provide that a plaintiff in such a case cannot be a “prevailing
party,” and that the government defendant is the prevailing party if the court dismisses “any
claim or cause of action brought by the party seeking the declaratory or injunctive relief . . . ,
regardless of the reason for the dismissal.” Id. §§ (b), (e). It authorizes the government
defendant to pursue a civil claim for these fees, id. § (c), and it purports to allow such claims
even if “[t]he court in the underlying action held that any provision of this section is invalid,
unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue or claim
preclusion.” Id. §(d)(3).

        Section 1021.11 is unconstitutional for several reasons. Governor Newsom and Attorney
General Bonta have repeatedly asserted that the Texas law on which SB 1327 was modeled
(Texas’s Senate Bill 8), is unconstitutional. When our firm recently filed an action to enjoin the
State from enforcing § 1021.11, the Attorney General refused to defend the law. On December
19, 2022, United States District Judge Roger T. Benitez enjoined the State of California from
implementing or enforcing the law as follows:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

Opinion and Order Enjoining Enforcement of California Code Of Civil Procedure
§ 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order).

        We recognize that your office may take the position that the Miller II injunction does not
directly apply to prevent your office from seeking to enforce § 1021.11 in situations where the
statute might apply. Nevertheless, for the reasons set forth in the Miller II opinion, we submit
there can be no reasonable argument that your office could constitutionally enforce § 1021.11.
We therefore request that your office stipulate that it will not seek to enforce § 1021.11 based on
the outcome of the forthcoming case against the plaintiffs, plaintiffs’ counsel of record, any other
counsel who appears in this case at any time or in any court, the various counsels’ respective
firms, and any other person representing any litigant seeking declaratory or injunctive relief in
the forthcoming matter.
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.30 Page 30 of 60
BENBROOK LAW GROUP,   PC



Eric R. Havens
January 20, 2023
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        Please inform me whether Imperial County (or any of its officers, agents, servants,
employees, or others acting in concert or participation with them in enforcing or implementing
the laws at issue) (“Prospective Defendants”) intend to bring a civil action, motion, application,
petition, or any other proceeding to recover attorney’s fees and/or costs under § 1021.11 against
any person (including an entity, attorney, or law firm representing a plaintiff) seeking declaratory
or injunctive relief based upon these prospective claims.

       Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of § 1021.11 on behalf of the Prospective Defendants, such as a suggestion of a
“reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to be
confirmation that the Prospective Defendants intend to seek remedies under § 1021.11.

        Please be advised that if we do not receive from your office, or counsel for the
Prospective Defendants by no later than 5:00 p.m. on Friday, January 27, 2023, a written
agreement to stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the
manner stated above or an unequivocal statement otherwise making clear that Prospective
Defendants (and any/all officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) will not enforce §
1021.11 against any person with respect to this anticipated case, we will be forced to conclude
that Prospective Defendants will not agree to a stipulation of waiver and non-enforcement of §
1021.11 and that the Prospective Defendants do intend to enforce § 1021.11 against one or more
such persons with respect to this case.

       Thank you for your attention to this matter. We look forward to your timely response.

                                              Sincerely,



                                              Bradley A. Benbrook
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                  EXHIBIT 3
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SEILER EPSTEIN LLP
ATTORNEYS AT LAW
                                                                                          GML@SEILEREPSTEIN.COM




                                                  December 30, 2022

       Via email: donna.ziegler@acgov.org, clay.christianson@acgov.org

        Donna Ziegler, County Counsel
        Clay J. Christianson, Deputy County Counsel
        OFFICE OF THE COUNTY COUNSEL
        County of Alameda, California
        1221 Oak Street, Suite 450
        Oakland, CA 94612

       Re:    URGENT – California Code of Civil Procedure Section 1021.11

       Dear Counsel:

                I am writing to you on behalf of the intended plaintiffs, plaintiffs’ counsel, including me,
       and the plaintiffs’ counsels’ respective firms in a case to be filed challenging various laws, policies,
       practices, and customs of Alameda County Sheriff Gregory Ahern, the Alameda County Sheriff’s
       Office, and the County of Alameda, regarding applications for and issuance of licenses to carry
       firearms that individually and collectively violate the Second and Fourteenth Amendment rights of
       the plaintiffs, plaintiffs’ members, and other similarly situated individuals in County of Alameda,
       California. We intend to seek declaratory and injunctive relief as to the enforcement of those laws,
       policies, customs, and practices. However, we write you in hopes that we can eliminate the need to
       also litigate and seek relief regarding your enforcement of California Code of Civil Procedure
       Section 1021.11 (“§ 1021.11”), which becomes effective on January 1, 2023.

               As you are likely aware, Governor Newsom signed Senate Bill No. 1327 (2021 – 2022 Reg.
       Sess.) (“SB 1327”) into law on July 22, 2022. Among its changes was the addition of CCP §
       1021.11, which provides:

                       (a) Notwithstanding any other law, any person, including an entity,
                       attorney, or law firm, who seeks declaratory or injunctive relief to
                       prevent this state, a political subdivision, a governmental entity or
                       public official in this state, or a person in this state from enforcing any
                       statute, ordinance, rule, regulation, or any other type of law that
                       regulates or restricts firearms, or that represents any litigant seeking
                       that relief, is jointly and severally liable to pay the attorney’s fees and
                       costs of the prevailing party.



                    4 EMBARCADERO CENTER | 14TH FLOOR | SAN FRANCISCO | CALIFORNIA | 94111
                             TELEPHONE : (415) 979-0500 FACSIMILE: (415) 979-0511
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.33 Page 33 of 60

SEILER EPSTEIN LLP
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Page 2


                   (b) For purposes of this section, a party is considered a prevailing party
                   if a court does either of the following:

                           (1) Dismisses any claim or cause of action brought by the party
                           seeking the declaratory or injunctive relief described by
                           subdivision (a), regardless of the reason for the dismissal.

                           (2) Enters judgment in favor of the party opposing the
                           declaratory or injunctive relief described by subdivision (a), on
                           any claim or cause of action.

                   (c) Regardless of whether a prevailing party sought to recover
                   attorney’s fees or costs in the underlying action, a prevailing party
                   under this section may bring a civil action to recover attorney’s fees
                   and costs against a person, including an entity, attorney, or law firm,
                   that sought declaratory or injunctive relief described by subdivision (a)
                   not later than the third anniversary of the date on which, as applicable:

                           (1) The dismissal or judgment described by subdivision (b)
                           becomes final upon the conclusion of appellate review.

                           (2) The time for seeking appellate review expires.

                   (d) None of the following are a defense to an action brought under
                   subdivision (c):

                           (1) A prevailing party under this section failed to seek recovery
                           of attorney’s fees or costs in the underlying action.

                           (2) The court in the underlying action declined to recognize or
                           enforce the requirements of this section.

                           (3) The court in the underlying action held that any provision
                           of this section is invalid, unconstitutional, or preempted by
                           federal law, notwithstanding the doctrines of issue or claim
                           preclusion.

                   (e) Any person, including an entity, attorney, or law firm, who seeks
                   declaratory or injunctive relief as described in subdivision (a), shall not
                   be deemed a prevailing party under this section or any other provision
                   of this chapter.

(SB 1327, Sec. 2.)
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ATTORNEYS AT LAW
Page 3


        As you may know, on December 19, 2022, United States District Judge Roger T. Benitez
issued an Opinion and Order Enjoining Enforcement of California Code Of Civil Procedure §
1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD (“Miller II”), ECF No.
43 (online at https://bit.ly/miller2order). In its Opinion and Order, the Court ordered that:

                   Defendant Attorney General Rob Bonta and Intervenor-Defendant
                   Governor Gavin Newsom, and their officers, agents, servants,
                   employees, and attorneys, and those persons in active concert or
                   participation with them, and those who gain knowledge of this
                   injunction order or know of the existence of this injunction order, are
                   enjoined from implementing or enforcing California Code of Civil
                   Procedure § 1021.11, as enacted by S.B. 1327.

        Regardless of whether or not the County of Alameda, the Alameda County Sheriff, and the
Alameda County Sheriff’s Office read the Court’s Order as applying to them, we request that the
County of Alameda, the Alameda County Sheriff, and the Alameda County Sheriff’s Office
stipulate that they will not seek to enforce CCP § 1021.11 based on the outcome of the forthcoming
case against plaintiffs’ counsel of record (including myself), any other counsel who appears in this
case at any time or in any court, the various counsels’ respective firms, the plaintiffs, and any other
person representing any litigant seeking declaratory or injunctive relief in the forthcoming matter.

        Please inform me if the County of Alameda, the Alameda County Sheriff, and the Alameda
County Sheriff’s Office (or any of their officers, agents, servants, employees, or others acting in
concert or participation with them in enforcing or implementing the laws at issue) (“Prospective
Defendants”) intend to bring a civil action, motion, application, petition, or any other proceeding to
recover attorney’s fees and/or costs under CCP § 1021.11 against any person (including an entity,
attorney, or law firm representing a plaintiff) seeking declaratory or injunctive relief based upon
these prospective claims.

        Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of CCP § 1021.11 on behalf of the Prospective Defendants, such as a suggestion
of a “reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to
be confirmation that the Prospective Defendants intend to seek remedies under CCP § 1021.11.

        Please be advised that if we do not receive from your office, or counsel for the Prospective
Defendants by no later than 5 p.m. Pacific time on Tuesday, January 3, 2023, a written
agreement to stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the
manner stated above or an unequivocal statement otherwise making clear that Prospective
Defendants (and any/all officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) will not enforce CCP §
1021.11 against any person with respect to this case, we will be forced to assume that Prospective
Defendants will or would not agree to a stipulation of waiver and non-enforcement of CCP §
1021.11 and that the Prospective Defendants do intend to enforce CCP § 1021.11 against one or
more such persons with respect to this case.
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SEILER EPSTEIN LLP
ATTORNEYS AT LAW
Page 4




         Thank you for your attention to this matter. We look forward to your timely response.

                                              Very truly yours,


                                              George M. Lee
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                  EXHIBIT 4
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                  EXHIBIT 5
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.40 Page 40 of 60


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                                   SACRAMENTO, CALIFORNIA                        95825

                                       www.benbrooklawgroup.com

                                       TELEPHONE:           (916) 447-4900
                                       FACSIMILE:           (916) 447-4904

B RADLEY A. B ENBROOK                                                                    brad@benbrooklawgroup.com




                                                January 20, 2023


Via email
Tiffany N. North
County Counsel, County of Ventura
Christine A. Renshaw
Assistant County Counsel
County Government Center
800 South Victoria Avenue, L/C #1830
Ventura, CA 93009
tiffany.north@ventura.org
christine.renshaw@ventura.org

         Re:       California Code of Civil Procedure § 1021.11

Dear Counsel:

        I am writing to you on behalf of Firearms Policy Coalition, among other intended
plaintiffs, and their counsel in a case to be filed challenging the Ventura County Sheriff’s
Office’s application and enforcement of the County’s licensing regime for carrying concealed
firearms, which violates the Second Amendment and Fourteenth Amendment rights of the
plaintiffs, plaintiffs’ members, and other similarly situated individuals in Ventura County. We
intend to seek declaratory and injunctive relief as to the enforcement of at least this policy,
custom, and practice.

         However, we write you in hopes that we can eliminate the need to also litigate and seek
relief regarding your enforcement of California Code of Civil Procedure Section 1021.11 (“§
1021.11”), in connection with the litigation. Governor Newsom signed Senate Bill No. 1327
(“SB 1327”) into law in July 2022. Among its changes was the addition of § 1021.11, which
became effective on January 1, 2023, and provides:

                   Notwithstanding any other law, any person, including an entity,
                   attorney, or law firm, who seeks declaratory or injunctive relief to
                   prevent this state, a political subdivision, a governmental entity or
                   public official in this state, or a person in this state from enforcing
                   any statute, ordinance, rule, regulation, or any other type of law
                   that regulates or restricts firearms, or that represents any litigant
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BENBROOK LAW GROUP,    PC



Tiffany N. North
Christine A. Renshaw
January 20, 2023
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               seeking that relief, is jointly and severally liable to pay the
               attorney’s fees and costs of the prevailing party.

Cal. Code Civ. Proc. § 1021.11(a).

        Section 1021.11 goes on to provide that a plaintiff in such a case cannot be a “prevailing
party,” and that the government defendant is the prevailing party if the court dismisses “any
claim or cause of action brought by the party seeking the declaratory or injunctive relief . . . ,
regardless of the reason for the dismissal.” Id. §§ (b), (e). It authorizes the government
defendant to pursue a civil claim for these fees, id. § (c), and it purports to allow such claims
even if “[t]he court in the underlying action held that any provision of this section is invalid,
unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue or claim
preclusion.” Id. §(d)(3).

        Section 1021.11 is unconstitutional for several reasons. Governor Newsom and Attorney
General Bonta have repeatedly asserted that the Texas law on which SB 1327 was modeled
(Texas’s Senate Bill 8), is unconstitutional. When our firm recently filed an action to enjoin the
State from enforcing § 1021.11, the Attorney General refused to defend the law. On December
19, 2022, United States District Judge Roger T. Benitez enjoined the State of California from
implementing or enforcing the law as follows:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

Opinion and Order Enjoining Enforcement of California Code Of Civil Procedure
§ 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order).

        We recognize that your office may take the position that the Miller II injunction does not
directly apply to prevent your office from seeking to enforce § 1021.11 in situations where the
statute might apply. Nevertheless, for the reasons set forth in the Miller II opinion, we submit
there can be no reasonable argument that your office could constitutionally enforce § 1021.11.
We therefore request that your office stipulate that it will not seek to enforce § 1021.11 based on
the outcome of the forthcoming case against the plaintiffs, plaintiffs’ counsel of record, any other
counsel who appears in this case at any time or in any court, the various counsels’ respective
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BENBROOK LAW GROUP,    PC



Tiffany N. North
Christine A. Renshaw
January 20, 2023
Page 3


firms, and any other person representing any litigant seeking declaratory or injunctive relief in
the forthcoming matter.

         Please inform me whether the County of Ventura or Ventura County Sheriff’s Office (or
any of their officers, agents, servants, employees, or others acting in concert or participation with
them in enforcing or implementing the laws at issue) (“Prospective Defendants”) intend to bring
a civil action, motion, application, petition, or any other proceeding to recover attorney’s fees
and/or costs under § 1021.11 against any person (including an entity, attorney, or law firm
representing a plaintiff) seeking declaratory or injunctive relief based upon these prospective
claims.

       Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of § 1021.11 on behalf of the Prospective Defendants, such as a suggestion of a
“reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to be
confirmation that the Prospective Defendants intend to seek remedies under § 1021.11.

        Please be advised that if we do not receive from your office, or counsel for the
Prospective Defendants by no later than 5:00 p.m. on Friday, January 27, 2023, a written
agreement to stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the
manner stated above or an unequivocal statement otherwise making clear that Prospective
Defendants (and any/all officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) will not enforce §
1021.11 against any person with respect to this anticipated case, we will be forced to conclude
that Prospective Defendants will not agree to a stipulation of waiver and non-enforcement of §
1021.11 and that the Prospective Defendants do intend to enforce § 1021.11 against one or more
such persons with respect to this case.

       Thank you for your attention to this matter. We look forward to your timely response.

                                              Sincerely,



                                              Bradley A. Benbrook
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                  EXHIBIT 6
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                                       TELEPHONE:           (916) 447-4900
                                       FACSIMILE:           (916) 447-4904

B RADLEY A. B ENBROOK                                                                    brad@benbrooklawgroup.com




                                                January 20, 2023


Via email
Dawyn R. Harrison
Interim County Counsel, County of Los
Angeles
500 West Temple St., Floor 6
Los Angeles, CA 90012
dharrison@counsel.lacounty.gov

         Re:       California Code of Civil Procedure § 1021.11

Dear Counsel:

        I am writing to you on behalf of Firearms Policy Coalition, among other intended
plaintiffs, and their counsel in a case to be filed challenging various laws, policies, practices, and
customs of the County of Los Angeles regarding the regulation of firearms that individually and
collectively violate the Second and Fourteenth Amendment rights of the plaintiffs, plaintiffs’
members, and other similarly situated individuals in Los Angeles County. Among other things,
the Los Angeles County Sheriff’s Office’s application and enforcement of the County’s licensing
regime for carrying concealed firearms violates the Second Amendment and Fourteenth
Amendment rights of the plaintiffs, plaintiffs’ members, and other similarly situated individuals
in Los Angeles County. Furthermore, the Los Angeles County Code generally prohibits the
possession of firearms in any public park within the county’s jurisdiction (§ 17.04.620), which
likewise violates the Second Amendment. We intend to seek declaratory and injunctive relief as
to the enforcement of at least those laws, policies, customs, and practices.

         However, we write you in hopes that we can eliminate the need to also litigate and seek
relief regarding your enforcement of California Code of Civil Procedure Section 1021.11 (“§
1021.11”), in connection with the litigation. Governor Newsom signed Senate Bill No. 1327
(“SB 1327”) into law in July 2022. Among its changes was the addition of § 1021.11, which
became effective on January 1, 2023, and provides:

                   Notwithstanding any other law, any person, including an entity,
                   attorney, or law firm, who seeks declaratory or injunctive relief to
                   prevent this state, a political subdivision, a governmental entity or
                   public official in this state, or a person in this state from enforcing
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.45 Page 45 of 60
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Dawyn R. Harrison
January 20, 2023
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               any statute, ordinance, rule, regulation, or any other type of law
               that regulates or restricts firearms, or that represents any litigant
               seeking that relief, is jointly and severally liable to pay the
               attorney’s fees and costs of the prevailing party.

Cal. Code Civ. Proc. § 1021.11(a).

        Section 1021.11 goes on to provide that a plaintiff in such a case cannot be a “prevailing
party,” and that the government defendant is the prevailing party if the court dismisses “any
claim or cause of action brought by the party seeking the declaratory or injunctive relief . . . ,
regardless of the reason for the dismissal.” Id. §§ (b), (e). It authorizes the government
defendant to pursue a civil claim for these fees, id. § (c), and it purports to allow such claims
even if “[t]he court in the underlying action held that any provision of this section is invalid,
unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue or claim
preclusion.” Id. §(d)(3).

        Section 1021.11 is unconstitutional for several reasons. Governor Newsom and Attorney
General Bonta have repeatedly asserted that the Texas law on which SB 1327 was modeled
(Texas’s Senate Bill 8), is unconstitutional. When our firm recently filed an action to enjoin the
State from enforcing § 1021.11, the Attorney General refused to defend the law. On December
19, 2022, United States District Judge Roger T. Benitez enjoined the State of California from
implementing or enforcing the law as follows:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

Opinion and Order Enjoining Enforcement of California Code Of Civil Procedure
§ 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order).

        We recognize that your office may take the position that the Miller II injunction does not
directly apply to prevent your office from seeking to enforce § 1021.11 in situations where the
statute might apply. Nevertheless, for the reasons set forth in the Miller II opinion, we submit
there can be no reasonable argument that your office could constitutionally enforce § 1021.11.
We therefore request that your office stipulate that it will not seek to enforce § 1021.11 based on
the outcome of the forthcoming case against the plaintiffs, plaintiffs’ counsel of record, any other
counsel who appears in this case at any time or in any court, the various counsels’ respective
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BENBROOK LAW GROUP,   PC



Dawyn R. Harrison
January 20, 2023
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firms, and any other person representing any litigant seeking declaratory or injunctive relief in
the forthcoming matter.

        Please inform me whether the County of Los Angeles or Los Angeles County Sheriff’s
Office (or any of their officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) (“Prospective
Defendants”) intend to bring a civil action, motion, application, petition, or any other proceeding
to recover attorney’s fees and/or costs under § 1021.11 against any person (including an entity,
attorney, or law firm representing a plaintiff) seeking declaratory or injunctive relief based upon
these prospective claims.

       Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of § 1021.11 on behalf of the Prospective Defendants, such as a suggestion of a
“reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to be
confirmation that the Prospective Defendants intend to seek remedies under § 1021.11.

        Please be advised that if we do not receive from your office, or counsel for the
Prospective Defendants by no later than 5:00 p.m. on Friday, January 27, 2023, a written
agreement to stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the
manner stated above or an unequivocal statement otherwise making clear that Prospective
Defendants (and any/all officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) will not enforce §
1021.11 against any person with respect to this anticipated case, we will be forced to conclude
that Prospective Defendants will not agree to a stipulation of waiver and non-enforcement of §
1021.11 and that the Prospective Defendants do intend to enforce § 1021.11 against one or more
such persons with respect to this case.

       Thank you for your attention to this matter. We look forward to your timely response.

                                              Sincerely,



                                              Bradley A. Benbrook
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                  EXHIBIT 7
   Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.48 Page 48 of 60

                            COUNTY OF LOS ANGELES
                            OFFICE OF THE COUNTY COUNSEL
                                648 KENNETH HAHN HALL OF ADMINISTRATION
                                         500 WEST TEMPLE STREET
                                    LOS ANGELES, CALIFORNIA 90012-2713             TELEPHONE
                                                                                   (213) 972-5780
                                                                                   FACSIMILE
DAWYN R. HARRISON
 Acting County Counsel                                                             (213) 626-5578
                                            January 27, 2023
                                                                                   TDD
                                                                                   (213) 633-0901




          VIA E-MAIL AND U.S. MAIL

          Bradley A. Benbrook
          Benbrook Law Group
          701 University Avenue, Suite 106
          Sacramento, California 95825
          brad@benbrooklawgroup.com

                   Re:      January 20, 2023 Letter Regarding California Code of Civil
                            Procedure Section 1021.11

          Dear Mr. Benbrook:

                  This is in response to your letter dated January 20, 2023 regarding
          California Code of Civil Procedure ("CCP") section 1021.11, in which you
          request this office "unequivocally stipulate to waiver and non-enforcement of
          section 1021.11" on behalf of "prospective" County defendants. You request this
          waiver "in a case to be filed challenging various laws, policies, practices, and
          customs of the County of Los Angeles regarding the regulation of firearms that
          individually and collectively violate the Second and Fourteenth Amendment
          rights of" certain unidentified plaintiffs.

                  While we understand your position regarding the legality of CCP section
          1021.11, it would be inappropriate for this office to stipulate as you request
          outside of an actual litigation. Should a complaint be filed, we would be willing
          to discuss entering into a case-specific stipulation with respect to CCP section
          1021.11 (if applicable), which we understand has been done in other cases
          involving the State of California. In addition, we would consider entering a
          stipulation in a prospective case for which you provide specific information
          regarding claims and parties.




          HOA.103996059.2
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     Bradley A. Benbrook
     January 27, 2023
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             Accordingly, please present a draft stipulation that is clearly and
     specifically connected with a particular lawsuit you filed or plan to file for our
     review and consideration.

                                                Very truly yours,

                                                DAWYN R. HARRISON
                                                Acting County Counsel


                                                By
                                                     LANA CHOI
                                                     Senior Deputy County Counsel
                                                     Justice and Safety Division

     LC:ga




     HOA.103996059.2
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                  EXHIBIT 8
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                               BENBROOK LAW GROUP
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                                  SACRAMENTO, CALIFORNIA                        95825

                                     www.benbrooklawgroup.com

                                      TELEPHONE:           (916) 447-4900
                                      FACSIMILE:           (916) 447-4904

B RADLEY A. B ENBROOK                                                                   brad@benbrooklawgroup.com




                                               January 27, 2023


Via email
Joseph W. Cotchett
  jcotchett@cpmlegal.com
Tamarah P. Prevost
  tprevost@cpmlegal.com
Andrew F. Kirtley
  akirtley@cpmlegal.com
Melissa Montenegro
  mmontenegro@cpmlegal.com
Cotchett, Pitre & Mccarthy, LLP
San Francisco Airport Office Center
840 Malcolm Road, Suite 200
Burlingame, CA 94010

         Re:       California Code of Civil Procedure § 1021.11

Dear Counsel:

         I am writing to you on behalf of Firearms Policy Coalition, among other intended
plaintiffs, and their counsel in a case to be filed challenging various laws of the City of San Jose
regarding the regulation of firearms that violate the Second and Fourteenth Amendment rights of
the plaintiffs, plaintiffs’ members, and other similarly situated individuals in San Jose. As you
may recall, my firm previously served as counsel of record for the Plaintiffs in Glass v. City of
San Jose, N.D. Cal. Case No 5:22-cv-02533-BL, which challenged City ordinances requiring
firearm owners to pay an annual fee to a City-designated non-profit organization and obtain
firearm-related insurance. Plaintiffs dismissed that lawsuit on August 24, 2022, because of the
threat posed by California Code of Civil Procedure Section 1021.11’s one-sided fee-shifting
provisions. We are now prepared to re-file litigation seeking declaratory and injunctive relief as
to at least these same regulations.

         To that end, we write you in hopes that we can eliminate the need to also litigate and seek
relief regarding any potential enforcement of § 1021.11, in connection with the litigation.
Governor Newsom signed Senate Bill No. 1327 (“SB 1327”) into law in July 2022. Among its
changes was the addition of § 1021.11, which became effective on January 1, 2023, and
provides:
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BENBROOK LAW GROUP,   PC



January 27, 2023
Page 2



               Notwithstanding any other law, any person, including an entity,
               attorney, or law firm, who seeks declaratory or injunctive relief to
               prevent this state, a political subdivision, a governmental entity or
               public official in this state, or a person in this state from enforcing
               any statute, ordinance, rule, regulation, or any other type of law
               that regulates or restricts firearms, or that represents any litigant
               seeking that relief, is jointly and severally liable to pay the
               attorney’s fees and costs of the prevailing party.

Cal. Code Civ. Proc. § 1021.11(a).

        Section 1021.11 goes on to provide that a plaintiff in such a case cannot be a “prevailing
party,” and that the government defendant is the prevailing party if the court dismisses “any
claim or cause of action brought by the party seeking the declaratory or injunctive relief . . . ,
regardless of the reason for the dismissal.” Id. §§ (b), (e). It authorizes the government
defendant to pursue a civil claim for these fees, id. § (c), and it purports to allow such claims
even if “[t]he court in the underlying action held that any provision of this section is invalid,
unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue or claim
preclusion.” Id. §(d)(3).

        Section 1021.11 is unconstitutional for several reasons. Governor Newsom and Attorney
General Bonta have repeatedly asserted that the Texas law on which SB 1327 was modeled
(Texas’s Senate Bill 8), is unconstitutional. When our firm recently filed an action to enjoin the
State from enforcing § 1021.11, the Attorney General refused to defend the law. On December
19, 2022, United States District Judge Roger T. Benitez enjoined the State of California from
implementing or enforcing the law as follows:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

Opinion and Order Enjoining Enforcement of California Code Of Civil Procedure
§ 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order).

        We recognize that the City may take the position that the Miller II injunction does not
directly apply to prevent the City from seeking to enforce § 1021.11 in situations where the
statute might apply. Nevertheless, for the reasons set forth in the Miller II opinion, we submit
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January 27, 2023
Page 3


there can be no reasonable argument that the City could constitutionally enforce § 1021.11. We
therefore request that the City stipulate that it will not seek to enforce § 1021.11 based on the
outcome of the forthcoming case against the plaintiffs, plaintiffs’ counsel of record, any other
counsel who appears in this case at any time or in any court, the various counsels’ respective
firms, and any other person representing any litigant seeking declaratory or injunctive relief in
the forthcoming matter.

        Please confirm whether the City of San Jose will stipulate that it will not bring a civil
action, motion, application, petition, or any other proceeding to recover attorney’s fees and/or
costs under § 1021.11 against any person (including an entity, attorney, or law firm representing
a plaintiff) seeking declaratory or injunctive relief based upon these prospective claims. Please
be advised that any statement that does not unequivocally stipulate to waiver and non-
enforcement of § 1021.11 on behalf of the City and its officers, agents and employees (the
“Prospective Defendants”), such as a suggestion of a “reservation of rights” or other
equivocation as to waiver/non-enforcement, will be deemed to be confirmation that the
Prospective Defendants intend to seek remedies under § 1021.11.

        Please be further advised that if we do not receive from your office, or other counsel for
the City by no later than 12:00 p.m. on Thursday, February 2, 2023, a written agreement to
stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the manner stated
above or an unequivocal statement otherwise making clear that Prospective Defendants (and
any/all officers, agents, servants, employees, or others acting in concert or participation with
them in enforcing or implementing the laws at issue) will not enforce § 1021.11 against any
person with respect to this anticipated case, we will be forced to conclude that the Prospective
Defendants do intend to enforce § 1021.11 against one or more such persons with respect to this
case.

       Thank you for your attention to this matter. We look forward to your timely response.

                                             Sincerely,



                                             Bradley A. Benbrook
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                  EXHIBIT 9
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                                              LAW OFFICES
                               COTCHETT, PITRE & McCARTHY, LLP
                                    SAN FRANCISCO AIRPORT OFFICE CENTER
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  SEATTLE
                                             840 MALCOLM ROAD
  NEW YORK                             BURLINGAME, CALIFORNIA 94010
                                          TELEPHONE (650) 697-6000
                                              FAX (650) 697-0577
                                                cpmlegal.com



                                            February 2, 2023

 Sent Via E-mail to:

 Bradley A. Benbrook
 Benbrook Law Group
 701 University Avenue, Suite 106
 Sacramento, CA 95825
 brad@benbrooklawgroup.com

        Re:     California Code of Civil Procedure § 1021.11

Mr. Benbrook:

We are in receipt of your letter dated January 27, 2023. It is unclear from your letter what City of
San Jose (“City”) ordinance or law specifically you intend to file litigation against, and on behalf
of which plaintiffs. See, e.g., January 27 Letter at 1 (noting the letter is sent on behalf of your
client and “other intended plaintiffs,” and anticipating “a case to be filed challenging various
laws of the City of San Jose”). Your language makes it impossible to know what specific City
laws you intend to file a lawsuit over, and on behalf of whom, which makes it difficult to
evaluate your request. Moreover, my firm represents the City in defense of the 2022 Gun Harm
Reduction Ordinance (the “Ordinance”), and not for all purposes or with respect to all possible
claims, making it further inappropriate to respond.

To the extent some portion of your letter relates to the Ordinance, your clients voluntarily
dismissed their lawsuit in the Northern District of California challenging the Ordinance and have
not re-filed a new one. Because the other two lawsuits challenging the Ordinance are still
pending in federal court, it would not be appropriate for the City to comment on that pending
litigation, for this additional reason.

Nor would it be appropriate for the City to comment on state legislation, whether under Cal.
Code Civ. Proc. § 1021.11 or any other state law, that your firm on your client’s behalf is
currently seeking to invalidate in the Southern District of California. Indeed, in August 2022, just
before filing that suit, your firm sent me a similar demand and request. Before the City even had
the chance to respond, your client dismissed its claims in the Northern District case, then used
that non-response to bolster your client’s standing to challenge § 1021.11 in the Southern
District. Based on this history, we are concerned that your most recent letter is not intended as a
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LAW OFFICES
COTCHETT, PITRE & McCARTHY, LLP                                                  February 2, 2023
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good faith offer to resolve (unspecified) future claims against the City, but rather to give your
client some advantage in its ongoing lawsuit challenging the constitutionality of § 1021.11.

Accordingly, we respectfully decline to comment on what positions the City might take, or what
remedies it might seek, in hypothetical future litigation against the City.

                                      Best,



                                      TAMARAH P. PREVOST

cc:    Joseph W. Cotchett
       Andrew F. Kirtley
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                EXHIBIT 10
Case 3:23-cv-00400-LL-VET Document 1 Filed 03/02/23 PageID.58 Page 58 of 60


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B RADLEY A. B ENBROOK                                                                    brad@benbrooklawgroup.com




                                               February 24, 2023

Via email
James R. Williams
County Counsel, County of Santa Clara
70 West Hedding Street
East Wing, 9th Floor
San Jose, CA 95110
county.counsel@cco.sccgov.org

         Re:       California Code of Civil Procedure § 1021.11

Dear Counsel:

        I am writing to you on behalf of Firearms Policy Coalition, among other intended
plaintiffs, and their counsel in a case to be filed challenging the Santa Clara County Sheriff’s
Office’s application and enforcement of the County’s licensing regime for carrying concealed
firearms, which violates the Second Amendment and Fourteenth Amendment rights of the
plaintiffs, plaintiffs’ members, and other similarly situated individuals in Santa Clara County.
We intend to seek declaratory and injunctive relief as to the enforcement of at least those laws,
policies, customs, and practices.

        However, we write to you in hopes that we can eliminate the need to also litigate and
seek relief regarding your enforcement of California Code of Civil Procedure Section 1021.11
(“§ 1021.11”), in connection with the litigation. Governor Newsom signed Senate Bill No. 1327
(“SB 1327”) into law in July 2022. Among its changes was the addition of § 1021.11, which
became effective on January 1, 2023, and provides:

                   Notwithstanding any other law, any person, including an entity,
                   attorney, or law firm, who seeks declaratory or injunctive relief to
                   prevent this state, a political subdivision, a governmental entity or
                   public official in this state, or a person in this state from enforcing
                   any statute, ordinance, rule, regulation, or any other type of law
                   that regulates or restricts firearms, or that represents any litigant
                   seeking that relief, is jointly and severally liable to pay the
                   attorney’s fees and costs of the prevailing party.

Cal. Code Civ. Proc. § 1021.11(a).
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BENBROOK LAW GROUP,   PC



James R. Williams
February 24, 2023
Page 2



        Section 1021.11 goes on to provide that a plaintiff in such a case cannot be a “prevailing
party,” and that the government defendant is the prevailing party if the court dismisses “any
claim or cause of action brought by the party seeking the declaratory or injunctive relief . . . ,
regardless of the reason for the dismissal.” Id. §§ (b), (e). It authorizes the government
defendant to pursue a civil claim for these fees, id. § (c), and it purports to allow such claims
even if “[t]he court in the underlying action held that any provision of this section is invalid,
unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue or claim
preclusion.” Id. §(d)(3).

        Section 1021.11 is unconstitutional for several reasons. In fact, Governor Newsom and
Attorney General Bonta have repeatedly asserted that the Texas law on which SB 1327 was
modeled (Texas’s Senate Bill 8), is unconstitutional. And when our firm recently filed an action
to enjoin the State from enforcing § 1021.11, the Attorney General refused to defend the law.
On December 19, 2022, United States District Judge Roger T. Benitez enjoined the State of
California from implementing or enforcing the law as follows:

               Defendant Attorney General Rob Bonta and Intervenor-Defendant
               Governor Gavin Newsom, and their officers, agents, servants,
               employees, and attorneys, and those persons in active concert or
               participation with them, and those who gain knowledge of this
               injunction order or know of the existence of this injunction order,
               are enjoined from implementing or enforcing California Code of
               Civil Procedure § 1021.11, as enacted by S.B. 1327.

Opinion and Order Enjoining Enforcement of California Code of Civil Procedure
§ 1021.11 in Miller v. Bonta, S.D. Cal. Case. No. 3:22-cv-01446-BEN-MDD
(“Miller II”), ECF No. 43 (online at https://bit.ly/miller2order).

         We recognize that your office may take the position that the Miller II injunction does not
directly apply to prevent your office from seeking to enforce § 1021.11 in situations where the
statute might apply. Nevertheless, for the reasons set forth in the Miller II opinion, we submit
there can be no reasonable argument that your office could constitutionally enforce § 1021.11.
We therefore request that your office stipulate that it will not seek to enforce § 1021.11, based on
the outcome of the forthcoming case, against the plaintiffs, plaintiffs’ counsel of record, any
other counsel who appears in this case at any time or in any court, the various counsels’
respective firms, and any other person representing any litigant seeking declaratory or injunctive
relief in the forthcoming matter.

        Please inform me whether the County of Santa Clara or the Santa Clara County Sheriff’s
Office (or any of their officers, agents, employees, or others acting in concert or participation
with them in enforcing or implementing the laws at issue) (“Prospective Defendants”) will
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BENBROOK LAW GROUP,   PC



James R. Williams
February 24, 2023
Page 3


stipulate to refrain from bringing a civil action, motion, application, or any other proceeding to
recover attorney’s fees and/or costs under § 1021.11 against any person (including an entity,
attorney, or law firm representing a plaintiff) seeking declaratory or injunctive relief based upon
the prospective claims described above.

       Please be advised that any statement that does not unequivocally stipulate to waiver and
non-enforcement of § 1021.11 on behalf of the Prospective Defendants, such as a suggestion of a
“reservation of rights” or other equivocation as to waiver/non-enforcement, will be deemed to be
confirmation that the Prospective Defendants intend to seek remedies under § 1021.11.

        Please be advised that if we do not receive from your office, or counsel for the
Prospective Defendants by no later than 12:00 p.m. on Wednesday, March 1, 2023, a written
agreement to stipulate to unconditional waiver and non-enforcement of CCP § 1021.11 in the
manner stated above or an unequivocal statement otherwise making clear that Prospective
Defendants (and any/all officers, agents, servants, employees, or others acting in concert or
participation with them in enforcing or implementing the laws at issue) will not enforce §
1021.11 against any person with respect to this anticipated case, we will be forced to conclude
that Prospective Defendants will not agree to a stipulation of waiver and non-enforcement of §
1021.11 and that the Prospective Defendants do intend to enforce § 1021.11 against one or more
such persons with respect to this case.

       Thank you for your attention to this matter. We look forward to your timely response.

                                              Sincerely,



                                              Bradley A. Benbrook
